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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 TASIA WILLIAMS and                               §
 VINCENT DOYLE,                                   §
                                                  §
          Plaintiffs,                             §
                                                  §
 v.                                               § Civil Action No. 3:20-CV-01526-L
                                                  §
 THE CITY OF DALLAS, TEXAS;                       §
 CHIEF ULYSHA RENEE HALL; and                     §
 JOHN DOE POLICE OFFICERS 1-50,                   §
                                                  §
          Defendants.                             §

                                              ORDER

         Before the court is Plaintiffs’ Motion for Temporary Restraining Order (Doc. 2), filed on

June 11, 2020. As the court has issued an Agreed Preliminary Injunction (Doc. 10), it denies as

moot Plaintiffs’ Motion for Temporary Restraining Order (Doc. 2).

         It is so ordered this 12th day of June, 2020.




                                                         Sam A. Lindsay
                                                         Unites States District Judge




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